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14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                No. SA CR 19-061-JVS
17
                 Plaintiff,                    GOVERNMENT’S FILING REGARDING
18                                             EMAIL COMMUNICATIONS WITH ROBERT
                       v.                      AMENTA; EXHIBITS 1-5
19
      MICHAEL JOHN AVENATTI,
20
                 Defendant.
21

22

23          Plaintiff United States of America, by and through its counsel

24    of record, the Acting United States Attorney for the Central District

25    of California and Assistant United States Attorneys Brett A. Sagel

26    and Alexander C.K. Wyman, hereby files information regarding email

27    communications with government witness Robert Amenta.

28
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1           This filing is based upon the attached memorandum of points and

2     authorities, the accompanying exhibits, the files and records in this

3     case, and such further evidence and argument as the Court may permit.

4      Dated: August 12, 2021               Respectfully submitted,

5                                           TRACY L. WILKISON
                                            Acting United States Attorney
6
                                            SCOTT M. GARRINGER
7                                           Assistant United States Attorney
                                            Chief, Criminal Division
8

9                                                 /s/
                                            BRETT A. SAGEL
10                                          ALEXANDER C.K. WYMAN
                                            Assistant United States Attorneys
11
                                            Attorneys for Plaintiff
12                                          UNITED STATES OF AMERICA

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2           On August 12, 2021, the government called Robert Amenta from the

3     Federal Reserve Bank of New York to testify regarding the interstate

4     communications caused by the wire transfers specified in counts one

5     through ten (and summarized in summary Trial Exhibit 457) that were

6     processed through the Fedwire Funds Transfer system.           During cross-

7     examination, defendant asked questions regarding the three times Mr.

8     Amenta was telephonically interviewed by the government, as well as

9     communications Mr. Amenta had with members of the prosecution team.
10    Mr. Amenta testified that he had had email communications with the
11    prosecution team related to the subject of his testimony. 1
12          As is evident from defendant’s questions about the three

13    separate interviews, the government previously produced in discovery

14    memoranda of interviews (“MOIs”) concerning those three telephonic

15    conversations.     True and correct copies of these MOIs are attached as

16    Exhibits 1 through 3.      These reports provide details on all areas of

17    Mr. Amenta’s testimony, such as his role at the Federal Reserve Bank

18    of New York, a description of what the Fedwire Funds Transfer system

19    is, and how every wire transfer processed through Fedwire post-April

20    2009 “has involved a multistep process and two data centers located

21    in New Jersey and Texas.”       (Ex. 1 (¶ 3), Ex. 2 (¶ 3).)       One of the

22    MOIs also states that Mr. Amenta was able to confirm that all 10 of

23    the wire transfers identified in the government’s wire count chart

24    (now marked as Trial Exhibit 457) were processed through Fedwire and

25    therefore caused an interstate wire communication, as well as how he

26

27
            1The government has not yet received the transcript of the
28    day’s testimony, and is providing this summary based on the
      government’s recollection of the testimony.
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1     was able to confirm that -- namely, through the “specific

2     Input/Output Message Accountability Data (IMAD or OMAD).”            (Ex. 2

3     (¶ 4).)

4           Prior to Mr. Amenta taking the stand, government counsel

5     conducted a search of government counsel’s emails from Mr. Amenta to

6     identify any discoverable emails, and determined that all emails

7     received from Mr. Amenta were logistical in nature and did not relate

8     to the substance of his expected testimony.          Because the government’s

9     interactions with Mr. Amenta were limited, and because government
10    counsel had been copied on email chains with Mr. Amenta and the
11    investigative agents, the government believed that at least one
12    Assistant United States Attorney (AUSA Wyman) was copied on all
13    correspondence with Mr. Amenta.        After Mr. Amenta testified on cross-
14    examination regarding email communications with a special agent,
15    however, government counsel identified two emails that relate to the
16    subject matter of Mr. Amenta’s testimony that were not previously
17    produced.    Those emails are attached hereto as Exhibits 4 and 5. 2
18    These emails do not contain any new information -- all of the

19    substantive information was memorialized from interviews of Mr.

20    Amenta in the MOIs -- but the government acknowledges that they

21    relate to Mr. Amenta’s testimony.

22

23
            2It appears that Mr. Amenta removed government counsel from the
24    email chains when communicating with the special agent, which is why
      government counsel did not identify these emails initially.
25    Although, in one instance, the special agent added government counsel
      back onto the email chain (Ex. 5 at 2), government counsel did not
26    realize the previous emails in the chain were only with the special
      agent, and Mr. Amenta subsequently removed government counsel from
27    the email again. And because government counsel was not copied on
      the earlier emails in the chain from Mr. Amenta, those emails did not
28    appear in government counsel’s inbox when conducting a search for any
      discoverable emails from Mr. Amenta.
                                         2
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1           The government is filing these emails publicly (redacted for

2     personal identifying information) with the Court so that both

3     defendant and the Court receive them.         The government notes, however,

4     that there does not appear to be any information contained in these

5     emails that was not in the MOIs, and therefore no information about

6     which defendant was not already able to (and did) cross-examine Mr.

7     Amenta. 3   As a result, further cross-examination on the two emails

8     attached as Exhibits 4 and 5 would likely be cumulative or a waste of

9     time and therefore not warranted under Rule 403.
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27          3In fact, defendant already elicited on cross-examination that
      Mr. Amenta had provided input via email on the government’s wire
28    count chart that the government did not incorporate into its trial
      exhibit, which appears to be the subject of Exhibit 5.
                                         3
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                       EXHIBIT 1
   Case 8:19-cr-00061-JVS Document 690 Filed 08/12/21 Page 7 of 22 Page ID #:13871

                                  DEPARTMENT OF THE TREASURY
                                     Internal Revenue Service
                                       Criminal Investigation

                                      Memorandum of Contact

Investigation #:             1000290795             Location: Telephonic                 1858
Investigation Name:          Michael J. Avenatti
Date:                        June 7, 2021
Time:                        Approximately 9:33
                             AM – 9:45 AM
Participant(s):              Robert Amenta, Witness
                             Alex Wyman, Assistant United States Attorney
                             Ryan Roberson, Special Agent


    On June 7, 2021, Special Agent (SA) Ryan Roberson and Assistant United States
    Attorney (AUSA) Alex Wyman called Robert Amenta (Amenta). Amenta provided the
    following information:

       1. Amenta is currently the Deputy Chief Investigator for the Federal Reserve Bank
          of New York (Fedwire). Sean O’Malley is currently the Chief Investigator for
          Fedwire.

       2. Amenta is available to testify on behalf of Fedwire the week of July 12th as long
          as a trial subpoena is provided.

       3. After April 27, 2009 the processing of all wire transfers through the Fedwire
          funds service has involved a multistep process and two data centers located in
          New Jersey and Texas. For this reason, every Fedwire funds transfer
          processed through the Fedwire funds transfer processed through the Fedwire
          funds service after April 27, 2009 has involved an exchange of electronic
          communications between Fedwire facilities in New Jersey and Texas.

    SA Roberson and AUSA Wyman thanked Amenta for his time and the conversation
    was concluded at 9:45 AM.

    I prepared this memorandum on June 16, 2021.




                                                        Ryan Roberson
                                                        Special Agent



    Memorandum Page 1 of 1                                                  U.S. Treasury Criminal Investigation



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                       EXHIBIT 2
   Case 8:19-cr-00061-JVS Document 690 Filed 08/12/21 Page 9 of 22 Page ID #:13873

                                  DEPARTMENT OF THE TREASURY
                                     Internal Revenue Service
                                       Criminal Investigation

                                     Memorandum of Interview

Investigation #:             1000290795             Location: Telephonic                -1858
Investigation Name:          Michael J. Avenatti
Date:                        June 16, 2021
Time:                        Approximately 8:32
                             AM – 8:42 AM
Participant(s):              Robert Amenta, Witness
                             Alex Wyman, Assistant United States Attorney
                             Ryan Roberson, Special Agent


    On June 16, 2021, Special Agent (SA) Ryan Roberson and Assistant United States
    Attorney (AUSA) Alex Wyman called Robert Amenta (Amenta). Amenta provided the
    following information:

       1. Amenta is currently the Deputy Chief Investigator for the Federal Reserve Bank
          of New York (Fedwire). Amenta has been employed by Fedwire since 1993.
          Amenta joined the Fedwire investigations group in 2000 and became the
          Deputy Chief Investigator approximately two years ago. Amenta’s duties in his
          role as Deputy Chief Investigator include subpoena compliance.

       2. Fedwire is a funds transfer system that provides several services to financial
          institutions. One such service is the ability for financial institutions to
          electronically transfer funds to each other through the Fedwire funds service.
          The Fedwire funds service receives the transfer at Fedwire’s primary
          processing site, and then sends a copy of the message to its secondary
          processing site. Once the message is confirmed, the Fedwire funds service
          settles the funds transfer by debiting the originator’s Fedwire bank account and
          crediting the beneficiary’s Fedwire bank account.

       3. Since April 27, 2009 the processing of all wire transfers through the Fedwire
          funds service has involved a multistep process and two data centers located in
          New Jersey and Texas. For this reason, every Fedwire funds transfer
          processed through the Fedwire funds transfer processed through the Fedwire
          funds service after April 27, 2009 has involved an exchange of electronic
          communications between Fedwire facilities in New Jersey and Texas.




    Memorandum Page 1 of 2                                                  U.S. Treasury Criminal Investigation



                                                                               USAO_01142524
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         4. Fedwire keeps records of all transfers made through Fedwire’s system, and
            Amenta has access to these records. Amenta reviewed Fedwire’s records and
            confirmed that all 10 wires identified in the wire fraud count chart went through
            Fedwire’s system. Amenta knows that all 10 wires went through Fedwire’s
            system because he saw that each wire had a specific Input/Output Message
            Accountability Data (IMAD or OMAD). These are unique numbers given to each
            Fedwire payment, similar to a fingerprint on a person, and are exclusively used
            by Fedwire.

     SA Roberson and AUSA Wyman thanked Amenta for his time and the interview was
     concluded at 8:42 AM.

     I prepared this memorandum on June 16, 2021.




                                                       Ryan Roberson
                                                       Special Agent




  Memorandum Page 2 of 2                                                U.S. Treasury Criminal Investigation



                                                                         USAO_01142525
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                        EXHIBIT 3
 Case 8:19-cr-00061-JVS Document 690 Filed 08/12/21 Page 12 of 22 Page ID #:13876


                                  DEPARTMENT OF THE TREASURY
                                     Internal Revenue Service
                                       Criminal Investigation

                                      Memorandum of Interview

Investigation #:              1000290795             Location: Via Teleconference
Investigation Name:           Michael J. Avenatti
Date:                         August 9, 2021
Time:                         Approximately 10:00
                              AM – 10:18 AM
Participant(s):               Robert Amenta, Witness
                              Meghan McCurdy, Fedwire Attorney
                              Alex Wyman, Assistant United States Attorney
                              Ryan Roberson, Special Agent


    On August 9, 2021, Special Agent (SA) Ryan Roberson and Assistant United States
    Attorney (AUSA) Alex Wyman spoke with Robert Amenta (Amenta) with Fedwire,
    along with Fedwire attorney Meghan McCurdy. Amenta provided the following
    information:

            No new information was provided.

    SA Roberson and AUSA Wyman thanked Amenta for his time and the interview was
    concluded at 10:18 AM.

    I prepared this memorandum on August 9, 2021.




                                                         Ryan Roberson
                                                         Special Agent




     Memorandum Page 1 of 1                                               U.S. Treasury Criminal Investigation

                                                                          USAO_01144104
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                        EXHIBIT 4
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Wyman, Alex (USACAC)

From:                Roberson Ryan (CI)
Sent:                Thursday, August 12, 2021 3:28 PM
To:                  Wyman, Alex (USACAC)
Subject:             FW: Fedwire wires




From: Amenta, Robert
Sent: Tuesday, June 08, 2021 10:30 AM
To: Roberson Ryan (CI)
Subject: RE: Fedwire wires


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Hi Ryan,



Are you able to extract the IMADS/OMADS from the source documents (bank records) for the additional six wires, if not
I will need approval via a Subpoena to search the additional 6 wires.



For the 4 wires which include IMADS/OMADS the follow statement is true.



        “Since April 27, 2009, the processing of all wire transfers through the Fedwire Funds Service has involved a

multistep process and two data centers located in New Jersey and Texas, respectively. The Fedwire Funds Service

initially receives Fedwire funds transfers at the service’s primary processing site. The Fedwire Funds Service application

then sends a copy of the message to a secondary processing site and waits for a confirmation from the secondary

processing site that the replicated copy has arrived at that site. The Fedwire Funds Service then settles the funds

transfer by debiting the Fedwire sender’s Federal Reserve Bank account and crediting the Fedwire receiver’s Federal

Reserve Bank account.


                                                             1
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          Therefore, every Fedwire funds transfer processed through the Fedwire Funds Service after April 27, 2009 has

involved an exchange of electronic communications between Federal Reserve facilities in New Jersey and Texas. “


Rob



From: Roberson Ryan (CI)
Sent: Monday, June 07, 2021 1:17 PM
To: Amenta, Robert
Subject: Fedwire wires



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Hi Robert,



Attached is a spreadsheet of the 4 wires with the applicable OMAD’s, as well as the remaining 6 wires with the
applicable information.



As Alex mentioned, it would extremely helpful if we could conduct a quick interview and formally confirm that these 6
additional wires were processed by Fedwire. Please let me know if you need any additional information.



Thanks,




Ryan Roberson

Special Agent, IRS‐CI

Los Angeles Field Office

Office           ‐6225

Cell (         ‐7773




                                                             2
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                        EXHIBIT 5
      Case 8:19-cr-00061-JVS Document 690 Filed 08/12/21 Page 18 of 22 Page ID #:13882


Wyman, Alex (USACAC)

From:                 Roberson Ryan (CI)
Sent:                 Thursday, August 12, 2021 4:05 PM
To:                   Wyman, Alex (USACAC)
Subject:              FW: Wire Chart




From: Amenta, Robert
Sent: Wednesday, July 14, 2021 7:17 AM
To: Roberson Ryan (CI)
Subject: RE: Wire Chart


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Hi Ryan

I hope all is well.

I see that six of the IMADs are missing the leading year identifiers.

IMADS

Wire 1. – 20150103……

Wire 2. – 20150210….

Wire 3. – 20170126…

Wire 4. – ok

Wire 5. – ok

Wire 6. – ok

Wire 7. – 20180318 also the amount for this wire is $2,828,423.30

Wire 8. – ok

Wire 9. – 20180618…..

And

Wire 10. – 20180713…….
                                                              1
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Rob

Robert Amenta
Deputy Chief Investigator
Federal Reserve Bank of New York
Financial Intelligence & Investigations
Legal Group
T          1858
33 Liberty Street
New York, NY 10045


From: Roberson Ryan (CI)
Sent: Monday, July 12, 2021 5:52 PM
To: Amenta, Robert
Cc: Alex.Wyman@usdoj.gov
Subject: RE: Wire Chart


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Hi Rob,

Thanks for the feedback ‐ we added the OMADs / IMADs to the transactions. Let me know if you have any questions.



Thanks,



Ryan Roberson
Special Agent, IRS‐CI
Los Angeles Field Office
Office           ‐6225
Cell           7773




          From: Amenta, Robert
          Sent: Sunday, July 11, 2021 6:45 PM
          To: Roberson Ryan (CI)
          Subject: RE: Wire Chart




                                                          2
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 Hi Ryan



 I would suggest adding the IMADs or OMADs to the transactions as it’s a unique identifiers specific to Fedwire
 funds.



 Rob



 Robert Amenta

 Deputy Chief Investigator

 Federal Reserve Bank of New York

 Financial Intelligence & Investigations

 Legal Group

 T         1858

 33 Liberty Street

 New York, NY 10045



 From: Roberson Ryan (CI) <
 Sent: Sunday, July 11, 2021 4:13 PM
 To: Amenta, Robert <
 Cc: Alex.Wyman@usdoj.gov; Brett.Sagel@usdoj.gov; Remoun.Karlous                      Kim James M
 <
 Subject: Wire Chart



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 Hi Rob,



 I hope that you are doing well. We wanted to pass along the chart we plan to use for the ten wires which we
 previously interviewed you about.



 We plan to use this to ask you to confirm that all of the wires were processed through Fedwire.
                                                     3
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        Thanks,



        Ryan Roberson

        Special Agent, IRS‐CI

        Los Angeles Field Office

        Office          ‐6225

        Cell           7773




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